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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

[1] JOHN FRAKES                          )
                                         )
       Plaintiff,                        )
                                         )
vs.                                      )               CIV-17-0093-HE
                                               Case No. __________________
                                         )
[1] CHRISTOPHER LEE MOORE,               )     Case No. CJ-2016-452
an individual; [2] PERIMETER             )     (Payne County District Court)
TRANSPORTATION CO., LLC, a               )
foreign limited liability company        )
doing business in the State of Oklahoma; )
and [3] STATE AUMOBILE MUTUAL )
INSURANCE COMPANY, a foreign             )
insurance company licensed and doing     )
business in the State of Oklahoma,       )
                                         )
       Defendants.                       )

NOTICE OF REMOVAL OF DEFENDANTS PERIMETER TRANSPORTATION
 CO., LLC AND STATE AUTOMOBILE MUTUAL INSURANCE COMPANY

      Pursuant to 28 U.S.C. §§ 1332, 1441(b), and 1446, Defendants Perimeter

Transportation Co. LLC (“Perimeter”) and State Automobile Mutual Insurance Company

(“State Auto”) hereby give notice of removal of Case No. CJ-2016-452, filed in the

District Court in and for Payne County, Oklahoma, to the United States District Court for

the Western District of Oklahoma.


                  TIMELINESS AND CONSENT TO REMOVAL

      1.      On October 13, 2016, Plaintiff commenced an action in the District Court

of Payne County, State of Oklahoma, by filing a Petition in Case No. CJ-2016-452,

styled: John Frakes, Plaintiff v. Christopher Lee Moore, an individual; Perimeter
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Transportation Co. LLC, a foreign limited liability corporation doing business in the

State of Oklahoma; and State Automobile Mutual Insurance Company, a foreign

insurance company licensed and doing business in the State of Oklahoma, Defendants.

A copy of the District Court Docket is attached. Court Docket, [Ex. 1]. A file-stamped

copy of the District Court Petition is also attached hereto. Petition, [Ex. 2].

       2.      Summonses were issued to all defendants on October 13, 2016.

Summonses, [Ex. 3].

       3.      Defendant Perimeter was served its Summons on January 12, 2017. Return

of Summons for Perimeter, [Ex. 4].

       4.      The return of service filed by Plaintiff for Defendant State Automobile

indicates that the Summons was received by Oklahoma Insurance Department on January

12, 2017.     Return of Summons for State Auto, [Ex. 5]. However, the documents

forwarded by Commissioner indicate that the Summons was received by the legal

department of the Oklahoma Insurance Department and forwarded to State Auto on

January 17, 2017. Correspondence and Summons to State Auto from Insurance

Commissioner, [Ex. 6]. State Auto actually received the Summons on January 23, 2017.

Id.

       5.      Upon information and belief, Defendant Christopher Lee Moore (“Moore”)

has not been served with his Summons at this time.

                            DIVERSITY OF CITIZENSHIP

       6.      According to the Petition, Plaintiff John Frakes is a resident of Crescent,

Oklahoma. Petition, ¶ 1 [Ex. 2]. Thus, for the purposes of this litigation, Plaintiff is a

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citizen of Oklahoma.

       7.      Upon information and belief, Defendant Moore is an individual that resides

in the State of Mississippi. Id., ¶ 2 [Ex. 2].

       8.      Defendant Perimeter is a limited liability company organized and existing

under the laws of the State of Tennessee, and whose principal place of business is in the

State of Tennessee. Id., ¶ 3 [Ex. 2]; Div. of Business Servs., Tenn. Sec’y of State,

Business Entity Detail for Perimeter Transportation Co. LLC., available at

https://tnbear.tn.gov/Ecommerce/FilingDetail.aspx?CN=08509307615611319408908004

3038004106001059100231 (last visited Jan. 24, 2017) [Ex. 7].

       9.      The sole members of Perimeter are Richard A. Russell, Michael E. Russell,

and Stewart D. Teuscher. Richard A. Russell is a resident of the State of Tennessee.

Michael E. Russell and Stewart D. Teuscher are residents of the State of Mississippi.

Disclosure Statement Identifying Constituents of Perimeter, [Ex. 8]1. For the purposes of

diversity jurisdiction, Perimeter is a citizen of the States of Tennessee and Mississippi.

       9.      Defendant State Auto is an Ohio corporation with its principal place of

business in Columbus, Ohio.           Ohio Sec’y of State, Corporation Details for State

Automobile           Mutual          Insurance        Company,           available           at

https://www5.sos.state.oh.us/ords/f?p=100:7:0::NO:7:P7_CHARTER_NUM:98112 (last

visited Jan. 24, 2017) [Ex. 9].

       10.     Insofar as Plaintiff is a citizen of Oklahoma and the Defendants are citizens


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  In compliance with LCvR 7.1.1, Perimeter’s Disclosure Statement Identifying
Constituents will be filed concurrently with this Notice of Removal.
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of Mississippi, Tennessee, and Ohio, complete diversity of citizenship exists for purposes

of 28 U.S.C. § 1332(a)(1).

                             AMOUNT IN CONTROVERSY


       11.     In the state court Petition, Plaintiff has asserted claims for negligence and

negligence per se in relation to a motor vehicle accident that occurred in Payne County,

Oklahoma on March 30, 2015. Petition, ¶¶ 5, 7 [Ex. 2]. Plaintiff alleges in his Petition

that Moore, as he was approaching an intersection, negligently failed to stop and collided

with the rear of Plaintiff’s vehicle, causing Plaintiff’s vehicle to impact the vehicle in

front of him. Id., ¶ 10 [Ex. 2]. Plaintiff alleges that he was seriously injured and suffered

injuries which required bilateral shoulder surgery, a cervical discectomy, lumbar

interbody fusion, along with the need for scar revision surgery. Id., ¶ 11 [Ex. 2].

       12.     Plaintiff further alleges that Defendant Moore was acting in the course and

scope of his employment with Defendant Perimeter at the time of the accident, thereby

making Defendant Perimeter vicariously liable for Defendant Moore’s negligent actions.

Id., ¶¶ 8, 15-17 [Ex. 2].

       13.     Plaintiff alleges that State Auto provided liability insurance to Defendants

Moore and Perimeter at the time of the accident set forth in his Petition, and that pursuant

to the Oklahoma Motor Carrier Act of 1995, State Auto is bound by its insurance policy

to make compensation to Plaintiff for injuries resulting from the subject incident. Id., ¶¶

21-22 [Ex. 2]. Plaintiff alleges that as the insurer for Moore and Perimeter, State Auto is

directly liable to Plaintiff for their acts and omissions. Id., ¶ 23 [Ex. 2].


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                             AMOUNT IN CONTROVERSY

       14.    Plaintiff is seeking damages against the Defendants in an amount exceeding

$75,000.00. Petition, p. 4, [Ex. 2].



       WHEREFORE, for all the foregoing reasons, this action is one over which this

Court has original jurisdiction pursuant to 28 U.S.C. § 1332, and is one which may be

removed by this Court pursuant to 28 U.S.C. § 1441. This action is between citizens of

different states, and the amount in controversy exceeds the sum of $75,000.00, exclusive

of interest and costs.



                                        Respectfully submitted,


                                         s/ Laura L. Eakens
                                        J. Derrick Teague, OBA #15131
                                        Laura L. Eakens, OBA #20196
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                                        ATTORNEYS FOR DEFENDANTS
                                        PERIMETER TRANSPORTATION CO, LLC
                                        and STATE AUTOMOBILE MUTUAL
                                        INSURANCE COMPANY




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                             CERTIFICATE OF SERVICE

       This is to certify that on the 31st day of January, 2017, I electronically transmitted

the attached document to the Clerk of Court using the ECF System for filing and

transmittal of a Notice of Electronic Filing was sent to the following ECF registrants:

       Scott R. Jackson
       MARTIN JEAN & JACKSON
       P.O. Box 2403
       Ponca City, OK 74602
       ATTORNEY FOR PLAINTIFF

                                          s/ Laura L. Eakens
                                          Laura L. Eakens




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